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                  UNITED STATES DISTRICT COURT
                   NORTHEN DISTRICT OF ILLINOIS
                        EASTERN DIVISION
   HARTFORD UNDERWRITERS
   INSURANCE COMPANY,

                   Plaintiff,


              vs.                                Case No. 24-cv-5595
   CONVERSENOW TECHNOLOGIES,
   INC.,


                  Defendant.




                   COMPLAINT FOR DECLARATORY JUDGEMENT

       Plaintiff, HARTFORD UNDERWRITERS INSURANCE COMPANY (“Hartford”), by

and through its attorneys, Michael J. Duffy, Michael J. O’Malley, and Joseph M. Dybisz of Wilson

Elser Moskowitz Edelman & Dicker LLP, for its Declaratory Judgment Complaint against

CONVERSENOW TECHNOLOGIES, INC. (“ConverseNow”) states as follows:

                                    STATEMENT OF THE CASE

       1.     This action seeks a declaration, pursuant to 28 U.S.C. § 2201 (the Declaratory

Judgment Act), that Hartford owes no insurance coverage obligations to Defendant for the claims

raised in the putative class action lawsuits styled: Myankhai Batchuluun, individually and on

behalf of other persons similarly situated, v. Wingstop Inc., and Conversenow Technologies, Inc.,

Case No. 1:24-cv-02302, (N.D. Ill. 2024) (“Batchuluun Complaint”); and Odilon Garcia,

Jonathan Neumann, and Zachery Young, individually and on behalf of all others similarly situated,

v. Domino’s Pizza, Inc. and ConverseNow Technologies, Inc., Case No. 1:24-cv-02090, (N.D. Ill.

2024) (“Garcia Complaint”) (collectively the “Underlying Actions”).

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       2.      Copies of the original complaints filed in the Underlying Actions are attached as

“Exhibit A” and “Exhibit B,” respectively.

                                            PARTIES

       3.      Hartford is an insurance company incorporated under the laws of the State of

Connecticut with its principal place of business in Hartford, Connecticut.

       4.      ConverseNow is a private company incorporated under the laws of the State of

Delaware and headquartered in Austin, Texas.

                                 JURISDICTION AND VENUE

       5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332, as the

amount in controversy exceeds $75,000 and the parties are citizens of different states.

       6.      Venue is proper in this District pursuant to 28 U.S.C. §1391 because both Hartford

and ConverseNow do business in the geographical boundaries of this District. Venue is also proper

in this District pursuant to 28 U.S.C. §1391 because the Underlying Actions were filed and are

currently pending in this District.

                                             FACTS

   A. THE UNDERLYING ACTIONS

       Batchuluun Complaint

       7.      On March 20, 2024, the Batchuluun Complaint was filed against ConverseNow

alleging violations of the Illinois Biometric Information Privacy Act, codified as 740 ILCS/14 and

Public Act 095-994 (“BIPA”). See Ex. A.

       8.      The Batchuluun Complaint was brought on behalf of the following putative class:

       All individuals who had their voiceprints, biometric identifiers, and/or biometric
       information collected, captured, otherwise obtained, used, and/or stored by
       Defendants when making a telephone order at a Wingstop location in the State of
       Illinois at any time within the applicable statute of limitations.

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See Ex. A.

       9.       The Batchuluun Complaint alleges that ConverseNow is in the business of

providing AI voice technology platforms for restaurants. See Ex. A.

       10.      The Batchuluun Complaint alleges that on March 2, 2023, ConverseNow and

Wingstop Inc. announced a pilot program under which ConverseNow’s voice-AI powered virtual

assistants would handle customer phone orders on behalf of Wingstop. See Ex. A.

       11.      The Batchuluun Complaint alleges that in February 2023, Mr. Batchuluun called

the Wingstop location at 1312 E Rand Road, Unit 1, Prospect Heights, Illinois, from his cellphone

to place an order for food delivery. During the call, Mr. Batchuluun interacted with a voice AI

assistant who took his order and collected certain personal information from Mr. Batchuluun,

including his name and telephone number. The voice AI technology utilized for taking Mr.

Batchuluun’s order allegedly collected, captured, used, and/or stored his unique voiceprint,

biometric identifiers, and/or biometric information. See Ex. A.

       12.      The Batchuluun Complaint asserts three causes of action against ConverseNow and

seek the following relief:

            Count 1 – Violation of BIPA (740 ILCS 14/15)(a): Underlying Plaintiffs allege
             ConverseNow failed to provide and follow a publicly available retention schedule and
             guidelines for permanently destroying Underlying Plaintiffs’ biometric identifiers.

            Count 2 – Violation of BIPA (740 ILCS 14/15)(b)(1-3): Underlying Plaintiffs allege
             ConverseNow failed (1) to properly inform Underlying Plaintiffs in writing that their
             biometric identifiers were being generated, collected, stored, and disclosed; (2) to
             properly inform Underlying Plaintiffs in writing of the specific purpose and length of
             time for which their biometric identifiers were being collected, stored, used, and/or
             disclosed; and (3) obtain a written release from Underlying Plaintiffs to collect, capture,
             or otherwise obtain their biometric identifiers.

            Count 3 – Violation of BIPA (740 ILCS 14/15)(c): Underlying Plaintiffs allege
             ConverseNow profited from Underlying Plaintiffs’ biometric identifiers by using them

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             to improve its voice AI technology, increase sales of the technology, and gain an edge
             over its competitors.

In connection with these causes of action, the Batchuluun Complaint seeks the following relief:

(a) an order certifying the putative class as defined above; (b) declaring that ConverseNow’s

actions violate BIPA; (c) awarding injunctive and equitable relief as necessary to protect the

interests of Underlying Plaintiffs by requiring ConverseNow to comply with BIPA; (d) finding

ConverseNow’s conduct intentional or reckless and awarding $5,000 in damages per violation of

BIPA; (e) awarding statutory damages of $1,000 for each negligent violation of BIPA; (f) an award

of attorney’s fees and costs; (g) awarding pre- and post-judgment interest; and (h) awarding such

other and further relief as the Court deems equitable and just.

See Ex. A.

       Garcia Complaint

       13.      On March 13, 2024, the Garcia Complaint was filed against ConverseNow alleging

violations of the Illinois Biometric Information Privacy Act, codified as 740 ILCS/14 and Public

Act 095-994 (“BIPA”). See Ex. B.

       14.      The Garcia Complaint was brought on behalf of the following putative class:

       All individuals who had their voiceprints, biometric identifiers, and/or biometric
       information collected, captured, otherwise obtained, used, and/or stored by
       Defendants when making a telephone order at a Domino’s location in the State of
       Illinois at any time within the applicable statute of limitations.

See Ex. B.

       15.      The Garcia Complaint alleges that ConverseNow is in the business of providing AI

voice technology platforms for restaurants. See Ex. B.




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       16.      The Garcia Complaint alleges that Domino’s Pizza, Inc. (“Domino’s”) used

ConverseNow’s voice-AI powered virtual assistants to handle customer phone orders on behalf of

Domino’s. See Ex. B.

       17.      The Garcia Complaint alleges that Odilon Garcia, over the course of the past five

years, has called Domino’s dozens of times to place an order for food, and has interacted with AI-

assisted voice technology during those calls.

       18.      The Garcia Complaint alleges that between May and July 2023, Plaintiff Mr.

Jonathan Neumann called the Domino’s location at 1234 S. Canal St., Chicago, Illinois, on at least

two occasions to place an order for food and has interacted with AI-assisted voice technology

during those calls. See Ex. B.

       19.      The Garcia Complaint alleges that over the past 6 months, Plaintiff Mr. Zachery

Young called the Domino’s location at 2501 S. Broadway Street, Quincy, Illinois, between 5 and

ten times to place an order for food and has interacted with AI-assisted voice technology during

those calls. See Ex. B.

       20.      The voice AI technology designed by ConverseNow and which was utilized for

taking Messrs. Nuemann and Young’s orders allegedly collected, captured, used, and/or stored his

unique voiceprint, biometric identifiers, and/or biometric information. See Ex. B.

       21.      The Garcia Complaint asserts three causes of action against ConverseNow and

seeks the following relief:

            Count 1 – Violation of BIPA (740 ILCS 14/15)(a): Underlying Plaintiffs allege
             ConverseNow failed to provide and follow a publicly available retention schedule and
             guidelines for permanently destroying Underlying Plaintiffs’ biometric identifiers.

            Count 2 – Violation of BIPA (740 ILCS 14/15)(b)(1-3): Underlying Plaintiffs allege
             ConverseNow failed (1) to properly inform Underlying Plaintiffs in writing that their
             biometric identifiers were being generated, collected, stored, and disclosed; (2) to
             properly inform Underlying Plaintiffs in writing of the specific purpose and length of

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             time for which their biometric identifiers were being collected, stored, used, and/or
             disclosed; and (3) obtain a written release from Underlying Plaintiffs to collect, capture,
             or otherwise obtain their biometric identifiers.

            Count 3 – Violation of BIPA (740 ILCS 14/15)(c): Underlying Plaintiffs allege
             ConverseNow profited from Underlying Plaintiffs’ biometric identifiers by using them
             to improve its voice AI technology, increase sales of the technology, and gain an edge
             over its competitors.

In connection with these causes of action, the Garcia Complaint seeks the following relief: (a) an

order certifying the putative class as defined above; (b) declaring that ConverseNow’s actions

violate BIPA; (c) awarding injunctive and equitable relief as necessary to protect the interests of

Underlying Plaintiffs by requiring ConverseNow to comply with BIPA; (d) finding

ConverseNow’s conduct intentional or reckless and awarding $5,000 in damages per violation of

BIPA; (e) awarding statutory damages of $1,000 for each negligent violation of BIPA; (f) an award

of attorney’s fees and costs; (g) awarding pre- and post-judgment interest; and (h) awarding such

other and further relief as the Court deems equitable and just.

See Ex. B.

   B. THE POLICIES

       22.      Hartford issued certain Business Owner’s insurance policies bearing policy number

65 SBA AP1DKS to ConverseNow, Inc. with effective dates of November 20, 2021 to June 19,

2022 (“2021-2022 Policy”), renewed for the term June 19, 2022 to June 19, 2023 (“2022-2023

Policy”) and subsequently renewed for the term June 19, 2023 to June 19, 2024 (“2023-2024

Policy” and collectively, the “Policies”). True and accurate copes of the Policies are attached,

respectively, as “Exhibits C, D, and E.”

   C. COMMERCIAL GENERAL LIABILITY COVERAGE

       23.      Subject to all of their terms, the Policies provide certain Commercial General

Liability coverage, and state, in part:
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 A) COVERAGES

       1. Business Liability Coverage (Bodily Injury, Property Damage, Personal
          And Advertising Injury) Insuring Agreement

          a. We will pay those sums that the insured becomes legally obligated to
             pay as damages because of "bodily injury", "property damage" or
             "personal and advertising injury" to which this insurance applies. We
             will have the right and duty to defend the insured against any "suit"
             seeking those damages. However, we will have no duty to defend the
             insured against any "suit" seeking damages for "bodily injury",
             "property damage" or "personal and advertising injury" to which this
             insurance does not apply.

             We may, at our discretion, investigate any "occurrence" or offense and
             settle any claim or "suit" that may result. But:

             (1) The amount we will pay for damages is limited as described in
                 Section D. Liability And Medical Expenses Limits Of Insurance; and

             (2) Our right and duty to defend ends when we have used up the
                 applicable limit of insurance in the payment of judgments,
                 settlements or medical expenses to which this insurance applies.

             No other obligation or liability to pay sums or perform acts or services
             is covered unless explicitly provided for under Coverage Extension -
             Supplementary Payments.

          b. This insurance applies:

             (1) To “bodily injury” and “property damage” only if:

                 (a) The “bodily injury” or “property damage” is caused by an
                     “occurrence” that takes place in the “coverage territory”,

                 (b) The “bodily injury” or “property damage” occurs during the
                     policy period; and

                 (c) . . .


             (2) To “personal and advertising injury” caused by an offense arising
                 out of your business, but only if the offense was committed in the
                 “coverage territory” during the policy period.

 24.      The Policies provide the following definitions:


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                                       ***
       1. “Advertisement” means a notice that is broadcast or published to the
          general public or specific market segments about your goods, products
          or services for the purpose of attracting customers or supporters. For
          the purpose of this definition:

          a. Notices that are published include material placed on the Internet
          or on similar electronic means of communication; and

          b. Regarding web sites, only that part of a web site that is about your
          goods, products or services for the purpose of attracting customers or
          supporters is considered an advertisement.

       2. “Advertising idea” means any idea for an “advertisement”.

                                      ***

       5. “Bodily Injury” means physical:
          a. Injury;
          b. Sickness; or
          c. Disease
          sustained by a person and, if arising out of the above, mental anguish
          or death at any time.
                                       ***
       16. “Occurrence” means an accident, including continuous or repeated
           exposure to substantially the same general harmful conditions.
       17."Personal and advertising injury" means injury, including consequential
           "bodily injury", arising out of one or more of the following offenses:

          a. False arrest, detention or imprisonment;

          b. Malicious prosecution;

          c. The wrongful eviction from, wrongful entry into, or invasion of the
             right of private occupancy of a room, dwelling or premises that a
             person occupies, committed by or on behalf of its owner, landlord
             or lessor;

          d. Oral, written, electronic, or any other manner of publication of
             material that slanders or libels a person or organization or
             disparages a person's or organization's goods, products or services;

          e. Oral, written, or electronic, or any other manner of publication of
             material that violates a person's right of privacy;
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                     f. Copying, in your “advertisement”, a person’s or organization’s
                        “advertising idea” or style of “advertisement”; or

                     g. Infringement of copyright, slogan, or title of any literary or artistic
                        work, in your "advertisement".

                                           ***
                20. “Property Damage” means:

                     a. Physical injury to tangible property, including all resulting loss of
                        use of that property. All such loss of use shall be deemed to occur at
                        the time of the physical injury that caused it; or

                     b. Loss of use of tangible property that is not physically injured. All
                        such loss of use shall be deemed to occur at the time of the
                        “occurrence” that caused it.

                     As used in this definition, electronic data is not tangible property.

                                                 ***
See Exs. C-E.

       25.      The Policies also contain the following exclusions:

       B.       EXCLUSIONS
                1.      Applicable To Business Liability Coverage

                This insurance does not apply to:

                        a.      Expected Or Intended Injury

                                (1)     "Bodily injury" or "property damage" expected or
                                        intended from the standpoint of the insured. This
                                        exclusion does not apply to "bodily injury" or
                                        "property damage" resulting from the use of
                                        reasonable force to protect persons or property; or

                                (2)     "Personal and advertising injury" arising out of an
                                        offense committed by, at the direction of or with the
                                        consent or acquiescence of the insured with the
                                        expectation of inflicting "personal and advertising
                                        injury".

                                                         ***

                        j.      Professional Services


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                      "Bodily injury", "property damage" or "personal and
                      advertising injury" arising out of the rendering of or failure to
                      render any professional service. This includes but is not
                      limited to:


                      (11)    Computer consulting, design, or programming
                              services, including web site design.
                                               ***
               p.     Personal And Advertising Injury

               “Personal and advertising injury”:
                                               ***
                      (2)     Arising out of oral, written, electronic, or any other
                              manner of publication of material whose first publication
                              took place before the beginning of the policy period;

                                               ***
                      (4)     Arising out of any breach of contract, except an implied
                              contract to use another’s "advertising idea" in your
                              "advertisement";

                                               ***
                      (8)     Arising out of an offense committed by an insured whose
                              business is:

                              (a)     Advertising,   broadcasting,     publishing    or
                                      telecasting;

                              (b)     Designing or determining content of web sites for
                                      others; or

                              (c)     An Internet search, access, content or service
                                      provider.

                                      However, this exclusion does not apply to
                                      Paragraphs a., b. and c. of the definition of
                                      "personal and advertising injury" in Section F.
                                      Liability And Medical Expenses Definitions.

                                      For the purposes of this exclusion, the placing of
                                      frames, borders or links, or advertising, for you
                                      or others anywhere on the Internet, is not by

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                                    itself, considered the business of advertising,
                                    broadcasting, publishing or telecasting.

                                            ***
                     (11)   Arising out of the violation of a person’s right of
                            privacy created by any state or federal act.
                            However, this exclusion does not apply to liability for
                            damages that the insured would have in the absence
                            of such state or federal act;
                                             ***
                     (15)    Arising out of any access to or disclosure of any
                            person’s or organization’s confidential or personal
                            information, including patents, trade secrets,
                            processing methods, customer lists, financial
                            information, credit card information, health
                            information or any other type of nonpublic
                            information. This exclusion applies even if damages
                            are claimed for notification costs, credit monitoring
                            expenses, forensic expenses, public relations
                            expenses or any other loss, cost, or expense incurred
                            by you or others arising out of any access to or
                            disclosure of any person’s or organization’s
                            confidential or personal information.

               q.    Access or Disclosure Of Confidential Or Personal
                     Information And Data-Related Liability

                     (1) Damages because of “bodily injury” or “property
                         damage” arising out of any access to or disclosure of
                         any person’s or organization’s confidential or personal
                         information, including patents, trade secrets, processing
                         methods, customer lists, financial information, credit
                         card information, health information or any other type
                         of nonpublic information; or

                     (2) Damages arising out of the loss of, loss of use of, damage
                         to, corruption of, inability to access, or inability to
                         manipulate "electronic data".

                                             ***

               t.    Recording And Distribution Of Material Or Information
                     In Violation Of Law




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                               "Bodily injury", "property damage", or "personal and
                               advertising injury" arising directly or indirectly out of any
                               action or omission that violates or is alleged to violate:

                               (1)    The Telephone Consumer Protection Act (TCPA),
                                      including any amendment of or addition to such law;

                               (2)    The CAN-SPAM Act of 2003, including any
                                      amendment of or addition to such law;

                               (3)    The Fair Credit Reporting Act (FCRA), and any
                                      amendment of or addition to such law, including the
                                      Fair and Accurate Credit Transaction Act (FACTA);
                                      or

                               (4)    Any federal, state or local statute, ordinance or
                                      regulation, other than the TCPA CAN-SPAM Act of
                                      2003, or FCRA and their amendments and additions,
                                      that addresses, prohibits or limits the printing,
                                      dissemination, disposal, collecting, recording,
                                      sending, transmitting, communicating or distribution
                                      of material or information.

See Exs. C-E.

   D. TENDER AND ACTUAL CONTROVERSY

       26.       ConverseNow tendered the Underlying Actions seeking defense and indemnity

from Hartford.

       27.       Hartford denies that it owes ConverseNow any defense or indemnity obligations

under the Policies.

       28.       An actual justiciable controversy exists between Hartford and ConverseNow as to

the availability of insurance coverage to ConverseNow under the Policies. Pursuant to the Federal

Declaratory Judgment Act, 28 U.S.C. § 2201, this Court is vested with the power to declare the

rights and liabilities of the parties hereto and to give such other and further relief that may be

necessary.

                                          COUNT I
             No “Bodily Injury” or “Property Damage” Caused by an “Occurrence”

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        29.     Hartford incorporates and restates the allegations of Paragraphs 1 through 28 above

as if fully set forth herein.

        30.     Subject to all of their terms, the Policies provide certain coverage for damages

because of “bodily injury” or “property damage” caused by an “occurrence,” as those terms are

defined in the Policies.

        31.     The claims in the Underlying Actions do not concern claims for damages because

of “bodily injury” or “property damage” caused by an “occurrence.”

        32.     Accordingly, Hartford does not owe any defense or indemnity obligations to

ConverseNow under the Policies for the claims in the Underlying Actions.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                               COUNT II
                                  No “Personal and Advertising Injury”

        33.     Hartford incorporates and restates the allegations of Paragraphs 1 through 32 above

as if fully set forth herein.

        34.     The allegations in Count I in the Underlying Actions seek damages arising from

ConverseNow’s alleged failure to institute, maintain, and adhere to a publicly available retention

schedule.

        35.     The allegations in Count II in the Underlying Actions seek damages arising from

ConverseNow’s alleged failure to obtain written consent and a release before obtaining biometric

identifiers or information.



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        36.     The allegations in Count III in the Underlying Actions seek damages arising from

ConverseNow’s alleged profit from Underlying Plaintiffs’ biometric identifiers by using them to

improve its voice AI technology, increase sales of the technology, and gain an edge over its

competitors.

        37.     The Policies define “personal and advertising injury” as, among other things, the

“[o]ral, written or electronic publication of material that violates a person's right of privacy.”

        38.     The Underlying Actions do not allege publication of material that violates a

person’s right of privacy.

        39.     The Underlying Actions does not allege “personal and advertising injury” as

defined in the Policies.

        40.     Accordingly, Hartford does not owe any defense or indemnity obligations to

ConverseNow for the claims against it in the Underlying Actions.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                       COUNT III
          Access Or Disclosure Of Confidential Or Personal Information Exclusion

        41.     Hartford incorporates and restates the allegations of Paragraphs 1 through 40 above

as if fully set forth herein.

        42.     The Policies each contain Exclusion B.1.(p)(15) entitled Access Or Disclosure Of

Confidential or Personal Information, which bars coverage for “personal and advertising injury”

arising out of any access to or disclosure of any person’s or organization’s confidential or personal

information.

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        43.     The Underlying Action seeks damages arising out of access to a person’s

confidential or personal information.

        44.     Accordingly, the Access Or Disclosure Of Confidential or Personal Information

Exclusion bars coverage for the claims in the Underlying Action.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                     COUNT IV
  Recording and Distribution Of Material Or Information In Violation Of Law Exclusion
                                         B.1.(t)

        45.     Hartford incorporates and restates the allegations of Paragraphs 1 through 44 above

as if fully set forth herein.

        46.     The Policies each contain Exclusion B.1.(t) entitled Recording and Distribution Of

Material Or Information In Violation Of Law, which bars coverage for, among other things,

“personal and advertising injury” “arising directly or indirectly out of any action or omission that

violates or is alleged to violate: . . . Any federal, state or local statute, ordinance or regulation,

other than the TCPA, CAN-SPAM Act of 2003 or FCRA and their amendments and additions, that

addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, sending,

transmitting, communicating or distribution of material or information.”

        47.     The Underlying Actions allege that ConverseNow violated BIPA, which is a state

statute that addresses, prohibits, or limits the printing, dissemination, disposal, collecting,

recording, sending, transmitting, communicating or distribution of material or information.




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        48.     Accordingly, the Recording and Distribution Of Material Or Information In

Violation Of Law Exclusion bars coverage for the Underlying Actions.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                            COUNT V
                           Expected or Intended Injury Exclusion B.1(a)


        49.     Hartford incorporates and restates the allegations of Paragraphs 1 through 48 above

as if fully set forth herein.

        50.     The Policies each contain Exclusion B.1.(a) entitled Expected or Intended Injury,

which bars coverage for “personal and advertising injury" arising out of an offense committed by,

at the direction of or with the consent or acquiescence of the insured with the expectation of

inflicting "personal and advertising injury”.

        51.     The Underlying Actions allege ConverseNow intentionally violated BIPA.

        52.     Accordingly, the Knowing Violation of Rights Of Another Exclusion bars coverage

for the Underlying Action.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                          COUNT VI
                    Right of Privacy Created by Statute Exclusion B.1(p)(11)




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        53.     Hartford incorporates and restates the allegations of Paragraphs 1 through 52 above

as if fully set forth herein.

        54.     The Policies contain Exclusion B.1.(p)(11) entitled “Personal and Advertising

Injury” which excludes coverage for “personal and advertising injury” arising out of the violation

of a person’s right of privacy created by any state or federal act.

        55.     The Underlying Actions allege that ConverseNow violated BIPA, which is a state

statute that creates a right of privacy for “aggrieved” persons as that term is defined by BIPA.

        56.     Accordingly, Hartford does not owe any defense or indemnity obligations to

ConverseNow under the Policies for the claims in the Underlying Actions.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

        B.      For all such just and equitable relief, including costs of this suit.

                                               COUNT VII
                                Professional Services Exclusion B.1.(j)(11)

        57.     Hartford incorporates and restates the allegations of Paragraphs 1 through 56 above

as if fully set forth herein.

        58.     The Policies contain Exclusion B.1.(j)(11) entitled “Professional Services” which

excludes coverage for any "personal and advertising injury" arising out of the rendering of or

failure to render any professional service, including but not limited to computer consulting, design,

or programing services.

        59.     The Underlying Actions allege ConverseNow “one of the leading voice AI

technology platforms for restaurants” and that “Voice AI uses natural language processing (NLP),




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natural language understanding (NLU) and machine learning algorithms to interpret and respond

to speech, and to learn from these user interactions.” See Ex. A, ¶¶ 22, 24; Ex. B, ¶¶ 30, 32.

          60.    The Underlying Actions seek damages arising from ConverseNow’s computer

consulting, design, or programing services.

          61.    Accordingly, Hartford does not owe any defense or indemnity obligations to

ConverseNow under the Policies for the claims in the Underlying Actions.

          WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

          A.     A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                 for the claims against it in the Underlying Actions under the Policies; and

          B.     For all such just and equitable relief, including costs of this suit.

                                         COUNT VIII
                       Personal and Advertising Injury Exclusion B.1(p)(2)

          62.    Hartford incorporates and restates the allegations of Paragraphs 1 through 61 above

as if fully set forth herein.

          63.    The Policies contain Exclusion B.1.(p)(2) which excludes coverage for any

"personal and advertising injury" arising out of any oral, written, electronic, or any other manner

of publication of material whose first publication took place before the beginning of a given policy

period.

          64.    The Underlying Actions allege that ConverseNow is a private AI company founded

in 2018 and that ConverseNow’s patented voice AI technology is utilized at more than 1,800 stores

in 46 states, including in Illinois. Additionally, ConverseNow allegedly “processes millions of live

conversations each month.” See Ex. A, ¶ 10; Ex. B, ¶12.

          65.    To the extent the Underlying Actions allege "personal and advertising injury"

arising out of any oral, written, electronic, or any other manner of publication of material, which

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Hartford denies, Exclusion B.1(p)(2) bars coverage for "personal and advertising injury" arising

from any publication of material occurring before the beginning of a given policy period.

        66.     Accordingly, Exclusion B.1(p)(2) bars coverage for the claims made against

ConverseNow in the Underlying Actions.

        WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

        A.      A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

                for the claims against it in the Underlying Actions under the Policies; and

                B.       For all such just and equitable relief, including costs of this suit.

                                          COUNT IX
                       Personal and Advertising Injury Exclusion B.1(p)(8)

        67.     Hartford incorporates and restates the allegations of Paragraphs 1 through 66 above

as if fully set forth herein.

        68.     The Policies contain Exclusion B.1.(p)(8) which excludes coverage for any

"personal and advertising injury" arising out of an offense committed by an insured whose business

is: (a) advertising, broadcasting, publishing or telecasting; (b) designing or determining content of

web sites for others; (c) an internet search, access, content or service provider.

        69.     ConverseNow is in the business of software, internet, application and web design.

See Exs. C-E at Declarations.

        70.     To the extent that the Underlying Actions allege "personal and advertising injury"

arising out of an offense committed by ConverseNow within the course of its software, internet,

application and web design business, Exclusion B.1.(p)(8) excludes coverage for the claims made

against ConverseNow in the Underlying Actions.

        71.     Accordingly, Exclusion B.1(p)(8) bars coverage for the claims made against

ConverseNow in the Underlying Actions.

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      WHEREFORE, Plaintiff Hartford prays this Court enter the following relief:

      A.     A declaration finding Hartford owes no duty to defend or indemnify ConverseNow

             for the claims against it in the Underlying Actions under the Policies; and

      B.     For all such just and equitable relief, including costs of this suit.


                                                     Respectfully Submitted,

                                                     By: /s/ Michael J. Duffy
                                                         Lead Attorney for Hartford Underwriters
                                                         Insurance Company
Michael J. Duffy
Michael J. O’Malley
Joseph M. Dybisz
Wilson Elser Moskowitz Edelman & Dicker LLP
55 W. Monroe Street, Suite 3800
Chicago, Illinois 60603
312.704.0550 (Main)
Michael.Duffy@wilsonelser.com
Michael.O’Malley@wilsonelser.com
Joseph.Dybisz@wilsonelser.com




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